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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

caseno. 20-2043 1-CR-HUCK/TORRES

18 U.S.C. § 1201(a)(1)
18 U.S.C. § 1201(c)

18 U.S.C. § 924(e)(1)(A)
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 924(d)(1)

UNITED STATES OF AMERICA FILED BY SAL D.C.
vs.
Nov 2, 2023

JAMES EDWARD DANIELS, ANGELA E. NOBLE

a/k/a “45,” CLERK U.S. DIST. CT.
HERBERT BARR, and S. DO. OF FLA. - Magistrate Miami
FREDERICK EUGENE RUDOLPH,

a/k/a “Pops,”

Defendants.
/
INDICTMENT

The Grand Jury charges that:
COUNT 1

Conspiracy to Kidnap Resulting in Death
(18 U.S.C. § 1201(¢))

Beginning at least as early as in and around January 2020, and continuing through in or
around December 2020, the exact dates being unknown to the Grand Jury, in Miami-Dade County,
in the Southern District of Florida, the defendants,

JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”

did knowingly and willfully combine, conspire, confederate, and agree with each other and with

others known and unknown to the Grand Jury, to commit an offense against the United States, that
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is, to unlawfully seize, confine, inveigle, decoy, kidnap, abduct, and carry away and hold any
person, that is Victim-1, Victim-2, and Victim-3, for reward and otherwise, and did use any means,
facility, and instrumentality of interstate commerce, that is, a cellular device and a motor vehicle,
in furtherance of this offense, in violation of Title 18, United States Code, Section 1201 (a).

OBJECT OF THE CONSPIRACY

It was the purpose and object of the conspiracy for the defendants and their co-conspirators
to unlawfully enrich themselves by obtaining United States currency and controlled substances in
exchange for robbing, seizing, kidnapping, abducting, and carrying away Victim-1, Victim-2, and
Victim-3, and killing and attempting to kill Victim-1, Victim-2, and Victim-3.

OVERT ACTS

In furtherance of the conspiracy, and to accomplish its purpose, at least one of the
conspirators committed and caused to be committed, in the Southern District of Florida, at least
one of the following overt acts, among others:

1. On or about December 3, 2020, JAMES EDWARD DANIELS and another
individual rented a Toyota Rav-4 bearing Florida license plate number EVLJ89 and Vehicle
Identification Number ending in 0153 (“the Rav-4”).

2. On or about December 4, 2020, JAMES EDWARD DANIELS met with other co-
conspirators, including co-conspirator 1, in the vicinity of 410 W 84th Street, Hialeah, Florida to
discuss their plan to steal property from Victim-1, Victim-2, and Victim-3 (collectively, “the
Victims”).

3. On or about December 5, 2020, JAMES EDWARD DANIELS, HERBERT

BARR, and FREDERICK EUGENE RUDOLPH communicated with each other and their co-
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conspirators, including co-conspirator 1, via cellular telephone in furtherance of their plan to steal
property from and kidnap the Victims.

4, On or about December 5, 2020, FREDERICK EUGENE RUDOLPH and co-
conspirator 1 used the Rav-4 to facilitate the rental of a U-Haul van bearing Arizona license plate
number AJ79460 and Vehicle Identification Number ending in 3803 (“the U-Haul”).

5. On or about December 5, 2020, JAMES EDWARD DANIELS, FREDERICK
EUGENE RUDOLPH, and other co-conspirators, including co-conspirator 1, stole property from
the Victims at 13052 NW 43rd Avenue, Opa-Locka, Florida.

6. On or about December 5, 2020, JAMES EDWARD DANIELS, FREDERICK
EUGENE RUDOLPH, and other co-conspirators, including co-conspirator 1, abducted the
Victims and placed the Victims in the U-Haul and drove them away from 13052 NW 43rd Avenue,
Opa-Locka, Florida.

7. On or about December 5, 2020, JAMES EDWARD DANIELS assaulted Victim-
1 while Victim-1 was restrained in the back of the U-Haul.

8. On or about December 5, 2020, HERBERT BARR drove the U-Haul containing
the Victims throughout parts of Miami-Dade County, Florida.

9. On or about December 5, 2020, JAMES EDWARD DANIELS, HERBERT
BARR, FREDERICK EUGENE RUDOLPH, and other co-conspirators, including co-
conspirator 1 and co-conspirator 2, threatened the Victims, or caused the Victims to be threatened,
with serious bodily injury and death.

10. On or about December 5, 2020, JAMES EDWARD DANIELS, HERBERT
BARR, and co-conspirator 2 transported the Victims to an abandoned property located at 1801

Rutland Street, Opa-Locka, Florida.
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11. On or about December 5, 2020, co-conspirator 2 shot the Victims in the head at
1801 Rutland Street, Opa-Locka, Florida, resulting in the death of Victim-1 and Victim-2.

12. In or around December 2020, co-conspirators, including co-conspirator 1, gave
JAMES EDWARD DANIELS, HERBERT BARR, and FREDERICK EUGENE RUDOLPH
money and/or controlled substances as payment for their participation in stealing property from
and kidnapping the Victims.

All in violation of Title 18, United States Code, Section 1201(c).

COUNT 2
Kidnapping Resulting in Death
(18 U.S.C. § 1201(a)(1))

On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,

the defendants,

JAMES EDWARD DANIELS,
a/k/a “ 45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”

did willfully and unlawfully seize, confine, kidnap, abduct, and carry away and hold any person,
that is, Victim-1, for reward and otherwise, and did use any means, facility, and instrumentality of
interstate commerce, that is, a cellular device and a motor vehicle, in furtherance of this offense,
in violation of Title 18, United States Code, Sections 1201(a)(1) and 2.

It is further alleged that death resulted to Victim-1 as a result of this offense, in violation

of Title 18, United States Code, Section 1201 (a).
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COUNT 3
Kidnapping Resulting in Death
(18 U.S.C. § 1201(a)(1))
On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,
the defendants,
JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”
did willfully and unlawfully seize, confine, kidnap, abduct, and carry away and hold any person,
that is, Victim-2, for reward and otherwise, and did use any means, facility, and instrumentality of
interstate commerce, that is, a cellular device and a motor vehicle, in furtherance of this offense,
in violation of Title 18, United States Code, Sections 1201(a)(1) and 2.
It is further alleged that death resulted to Victim-2 as a result of this offense, in violation
of Title 18, United States Code, Section 1201(a).
COUNT 4
Kidnapping
(18 U.S.C. § 1201(a)(1))
On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,
the defendants,
JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”

did willfully and unlawfully seize, confine, kidnap, abduct, and carry away and hold any person,

that 1s, Victim-3, for reward and otherwise, and did use any means, facility, and instrumentality of
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interstate commerce, that is, a cellular device and a motor vehicle, in furtherance of this offense,
in violation of Title 18, United States Code, Sections 1201(a)(1) and 2.

COUNT 5
Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence
(18 U.S.C. §§ 924(c)(1)(A)(ii) and (iii))

On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,
the defendants,
JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”
did knowingly use and carry a firearm in furtherance of a crime of violence, and did knowingly
possess a firearm in furtherance of a crime of violence, an offense for such the defendants may be
prosecuted in a court of the United States, that is, a violation of Title 18, United States Code,
Section 1201(a), as charged in Count 2 of this Indictment relating to Victim-1, in violation of Title
18, United States Code, Sections 924(c)(1)(A) and 2.
Pursuant to Title 18, United States Code, Sections 924(c)(1)(A)(i1) and 924(c)(1)(A) (aii),
it is further alleged that the firearm was brandished and discharged.
COUNT 6
Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence
(18 U.S.C. §§ 924(c)(1)(A) (ii) and (iii))
On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,
the defendants,
JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and

FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”
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did knowingly use and carry a firearm in furtherance of a crime of violence, and did knowingly
possess a firearm in furtherance of a crime of violence, an offense for such the defendants may be
prosecuted in a court of the United States, that is, a violation of Title 18, United States Code,
Section 1201 (a), as charged in Count 3 of this Indictment relating to Victim-2, in violation of Title
18, United States Code, Sections 924(c)(1)(A) and 2.

Pursuant to Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 924(c)(1)(A)(iii),
it is further alleged that the firearm was brandished and discharged.

COUNT 7
Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence
(18 U.S.C. §§ 924(c)(1)(A)(ii) and (iii)

On or about December 5, 2020, in Miami-Dade County, in the Southern District of Florida,

the defendants,
JAMES EDWARD DANIELS,
a/k/a “45,”
HERBERT BARR, and
FREDERICK EUGENE RUDOLPH,
a/k/a “Pops,”

did knowingly use and carry a firearm in furtherance of a crime of violence, and did knowingly
possess a firearm in furtherance of a crime of violence, an offense for such the defendants may be
prosecuted in a court of the United States, that is, a violation of Title 18, United States Code,
Section 1201(a), as charged in Count 4 of this Indictment relating to Victim-3, in violation of Title
18, United States Code, Sections 924(c)(1)(A) and 2.

Pursuant to Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 924(c)(1)(A)(iii),

it is further alleged that the firearm was brandished and discharged.
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FORFEITURE ALLEGATIONS

1. The allegations of this Indictment are hereby re-alleged and by this reference fully
incorporated herein for the purpose of alleging forfeiture to the United States of America of certain
property in which the defendants, JAMES EDWARD DANIELS, a/k/a “45,” HERBERT
BARR, and FREDERICK EUGENE RUDOLPH, a/k/a “Pops,” have an interest.

2. Upon conviction of a violation of Title 18, United States Code, Section 1201, as
alleged in this Indictment, the defendants shall forfeit to the United States any property, real or
personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title
18, United States Code, Section 981(a)(1)(C).

3. Upon a conviction of a violation of Title 18, United States Code, Section 924(c), or
any other criminal law of the United States, as alleged in this Indictment, the defendants shall
forfeit to the United States any firearm and ammunition involved in or used in the commission of
such offense, pursuant to Title 18, United States Code, Section 924(d)(1).

All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and 924(d)(1), and the
procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 28,
United States Code, Section 2461 (c).

A TRUE BILL

A FOREPERSON ~

KENZ/VV IMPOINTE
€- LphiTED STATES ATTORNEY

*LLEN D’ANGEL
KEVIN GERARDE
ASSISTANT UNITED STATES ATTORNEYS
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:
v.
JAMES EDWARD DANIELS, CERTIFICATE OF TRIAL ATTORNEY
a/k/a "45," et al., .
/ Superseding Case Information:
Defendants. New Defendant(s) (Yes or No)
Court Division (select one) Number of New Defendants
Miami [Key West DIFTP Total number of counts
DOFTL [] WPB
I do hereby certify that:
1. have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.
2. 1am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting

their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

3. Interpreter: (Yes or No) No
List language and/or dialect:

4. This case will take _!4 days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I PF Oto 5 days [1 Petty

It [1 6to 10 days DF Minor

Il 111 to 20 days [7] Misdemeanor
IV [121 to 60 days Ik] Felony

V_ 16! days and over

6. Has this case been previously filed in this District Court? (Yes or No) No
If yes, Judge Case No.
7. Has acomplaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.
8. Does this case relate to a previously filed matter in this District Court? (Yes or No) Yes
If yes, Judge Altonaga Case No. 22-20330-CR-CMA
9. Defendant(s) in federal custody as of
10. Defendant(s) in state custody as of
11. Rule 20 from the____ District of
12. Is this a potential death penalty case? (Yes or No) Yes
13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
15. Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
during his tenure at the U.S. Attorney’s Office, which concluded on January 22, 2023? No

» DOC gto

Ellen D'Angelo
Assistant United sites Attorney

Court ID No. A5502579

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: JAMES EDWARD DANIELS, a/k/a “45”

Case No:

Count #: 1

Conspiracy to Commit Kidnapping

Title 18, United States Code, Section 1201(c)

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Counts #: 2-3

Kidnapping Resulting in Death

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Death Penalty

* Mandatory Min. Term of Imprisonment (if applicable): Life Imprisonment
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Count #: 4

Kidnapping

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: JAMES EDWARD DANIELS, a/k/a “45”

Case No:

Counts #: 5-7

Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence

Title 18, United States Code, Sections 924(c)(1)(A)(ii) and (iii)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): 10 years
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: HERBERT BARR

Case No:

Count #: 1

Conspiracy to Commit Kidnapping

Title 18, United States Code, Section 1201(c)

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Counts #: 2-3

Kidnapping Resulting in Death

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Death Penalty

* Mandatory Min. Term of Imprisonment (if applicable): Life Imprisonment
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Count #: 4

Kidnapping

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: HERBERT BARR

Case No:

Counts #: 5-7

Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence

Title 18, United States Code, Sections 924(c)(1)(A)(ii) and (iii)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): 10 years
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: FREDERICK EUGENE RUDOLPH, a/k/a “Pops”

Case No:

Count #: 1

Conspiracy to Commit Kidnapping

Title 18, United States Code, Section 1201(c)

* Max. Term of Imprisonment: Life Imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Counts #: 2-3

Kidnapping Resulting in Death

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Death Penalty

* Mandatory Min. Term of Imprisonment (if applicable): Life Imprisonment
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

Count #: 4

Kidnapping

Title 18, United States Code, Section 1201(a)(1)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): None
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: FREDERICK EUGENE RUDOLPH, a/k/a “Pops”

Case No:

Counts #: 5-7

Brandishing and Discharging a Firearm in Furtherance of a Crime of Violence

Title 18, United States Code, Sections 924(c)(1)(A)(ii) and (iii)

* Max. Term of Imprisonment: Life imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): 10 years
* Max. Supervised Release: up to 5 years

* Max. Fine: $250,000

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
